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                                                           Wednesday, 15 August, 2018 11:40:06 AM
                                                                      Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                       )
                                                )
                    Plaintiff,                  )
      v.                                        )       Case No. 17-CR-20037
                                                )
BRENDT A. CHRISTENSEN,                          )
                                                )
                    Defendant.                  )

                                         ORDER

      Defendant, Brendt A. Christensen, filed a Motion to Compel Discovery (#82) on

July 13, 2018. The government filed its Response (#84) on July 27, 2018. Defendant filed

a Reply (#87) on August 3, 2018. For the following reasons, Defendant’s motion (#82) is

DENIED.

      Defendant makes two requests in his Motion to Compel Discovery (#82). First,

Defendant requests the government be compelled to turn over “the date, form, and

substance of any communication between the White House and the Department of

Justice concerning this case, and, if any such communications exist, the substance of any

communications between Presidents Trump and Xi [of China] or their immediate staffs

concerning this case.”

      Second, Defendant requests the government be compelled to turn over further

details on the following aggravating factors regarding the death penalty: the heinous,

cruel, or depraved manner of committing the offense; victim impact evidence; future

dangerousness; lack of remorse; vulnerability of the victim; and obstruction of justice.
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       Communications Between the Chinese and American Governments

       Defendant seeks “any information that [his] case was discussed when President

Donald Trump and Chinese President Xi Jinping met in Beijing, China, in November

2017.” Defendant wants to know if the two heads of state, or their staffs, discussed the

case, and if any of that discussion was communicated to the Department of Justice, and

whether that discussion played any role in the Attorney General’s decision to seek the

death penalty. Defendant argues that, if a discussion did occur, and if it was

communicated to the Department of Justice, and if it played a role in the Attorney

General’s decision, it would be an improper injection of arbitrary political

considerations into the decision to seek the death penalty, which would violate the

Eighth Amendment to the U.S. Constitution.

       The government responds that, although it was not required to do so, it provided

Defendant with all documents and information in its possession reflecting contact

between representatives of the Chinese government and the prosecution team. The

government contends that the defense request for information about what was

discussed between Presidents Trump and Xi is nothing more than a “fishing

expedition,” “seeking internal, deliberative, work-product of the executive branch that

Defendant is not otherwise entitled to receive.” The government argues that

prosecutorial discretion in charging a defendant is wide, and it is ordinarily shielded




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from judicial review. The government argues Defendant has cited no authority for his

request. Further, the government argues, federal case law has previously refused to

compel the production of the type of evidence Defendant is seeking.

       The Attorney General of the United States has broad discretion to enforce this

nation’s criminal laws and, as a result, the presumption of regularity supports the

executive branch’s prosecutorial decisions and, in the absence of clear evidence to the

contrary, courts presume that they have properly discharged their official duties.

United States v. Armstrong, 517 U.S. 456, 464 (1996). The Seventh Circuit has held that

prosecutorial decisions at the charging stage are particularly ill-suited to judicial review

because factors such as the strength of the case, the prosecution’s general deterrence

value, the government’s enforcement priorities, and the case’s relationship to the

government’s overall enforcement plan are not readily susceptible to the kind of

analysis the courts are competent to undertake. United States v. Scott, 631 F.3d 401, 406

(7th Cir. 2011), citing Wayte v. United States, 470 U.S. 598 (1985). The Seventh Circuit’s

case law embodies the long-settled principle that courts safeguard prosecutorial

discretion by shielding it from judicial review that either forces the prosecutor to act in a

prescribed manner or penalizes the prosecutor for acting in his preferred manner. Scott,

631 F.3d at 407.




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       Of course, this prosecutorial discretion is subject to constitutional constraints,

one of which is that the decision whether to prosecute may not be based on an

unjustifiable standard such as race, religion, or other arbitrary classification, such as

national origin. Armstrong, 517 U.S. at 464.1

       Courts have extended this deference to prosecutorial discretion to the

government’s decision to seek the death penalty. In fact, at least one district court has

gone so far as to hold that the Department of Justice’s decision to pursue a death

sentence is within the Department’s “unreviewable discretion.” United States v. Slone,

969 F.Supp.2d 830, 837 (E.D. Ky. 2013); see also United States v. Tsarnaev, 2013 WL

5701582, at *2 (D. Mass. Oct. 18, 2013). Indeed, in United States v. Fernandez, 231 F.3d

1240 (9th Cir. 2000), the Ninth Circuit Court of Appeals found that Department of




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        To the extent that Defendant is arguing for discovery based on alleged violations
of the Department of Justice’s internal policies via the United States Attorneys’ Manual
(USAM), such an argument is a non-starter. The Manual provides only internal
Department of Justice guidance, and is not intended to, and does not and may not be
relied upon to create, any rights, substantive or procedural, enforceable at law by any
party in any matter civil or criminal. United States Attorneys’ Manual, § 1-1.200.
Further, courts have held that defendants do not have enforceable rights based on
Department of Justice internal policy. See United States v. Gillespie, 974 F.2d 796, 801 (7th
Cir. 1992) (prosecutor’s failure to follow internal DOJ guidelines was “not error of the
nature that calls for the exercise of [the court’s] supervisory powers.”); United States v.
Lee, 274 F.3d 485, 493 (8th Cir. 2001) (USAM does not create an enforceable right for
defendants in internal DOJ policies and procedures, such as death penalty protocol).
Defendant admits in his Reply that “he did not suggest...that his request is based on the
enforceability of the Manual itself.”

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Justice death penalty evaluation forms and prosecution memoranda were

undiscoverable because they were protected by the deliberative process and work

product privileges. Fernandez, 231 F.3d at 1246.

       Further, even if the alleged communications occurred (and they are absolute

speculation at this point), the court could not order the government to produce them.

Defendant can cite to no federal rule requiring it. On the other hand, prosecutorial

charging and penalty decisions are covered by multiple privileges. See In re U.S., 398

F.3d 615, 618 (7th Cir. 2005) (prosecutors’ intra-office conversations and memoranda are

covered by multiple privileges); United States v. Zingsheim, 384 F.3d 867, 871-72 (7th Cir.

2004) (attorney-client privilege covers conversations between prosecutors and client

agencies within government, work product privilege covers conversations between

prosecutors and investigating agents of federal or local jurisdiction, deliberative process

privilege covers memoranda and discussions within the executive branch leading up to

the formulation of an official position, and privilege shields recommendations to

high-ranking officials); Fernandez, 231 F.3d at 1246-47; Slone, 969 F.Supp.2d at 837;

Tsarnaev, 2013 WL 5701582, at *2.

       The U.S. Supreme Court has addressed discovery of prosecutorial decisions in

the “selective prosecution” context. In Armstrong, a selective prosecution case, the

defendants assumed that law enforcement agents arrested all those they found dealing

in crack cocaine, and the defendants suspected that the federal prosecutor was charging

the black suspects while letting the white suspects go free. Armstrong, 517 U.S. at 458-


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59. The Supreme Court held that the standard of proving a claim of selective

prosecution is a demanding one, and the showing necessary to obtain discovery on such

an issue “should itself be a significant barrier to the litigation of insubstantial claims.”

Armstrong, 517 U.S. at 463-64. The Court, while noting that a prosecutor’s discretion

was subject to constitutional restraints, stated that prosecutors had broad discretion to

enforce the law and that the presumption of regularity supported their decisions and,

“in the clear absence of evidence to the contrary, courts presume that they have

properly discharged their official duties.” Armstrong, 517 U.S. at 464. Thus, in order to

dispel the presumption that a prosecutor had not violated equal protection, the Court

held that criminal defendants must “present clear evidence to the contrary.” Armstrong,

517 U.S. at 465. Defendants had to present “some evidence tending to show the

existence of the discriminatory effect element.” Armstrong, 517 U.S. at 468.

       In selective prosecution cases, this means the defendant must make a credible

showing that persons of a different race, but otherwise comparable in criminal

behavior, were presented to the U.S. Attorney for prosecution, but that prosecution was

declined. Armstrong, 517 U.S. at 469-70; United States v. Davis, 793 F.3d 712, 720 (7th Cir.

2015). The Court later extended this ruling to apply to claims regarding prosecutorial

decisions to seek the death penalty. United States v. Bass, 536 U.S. 862 (2002); Davis, 793

F.3d at 720.




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       Thus, after Armstrong, the bar is very high for a defendant seeking discovery on

prosecutorial charging and penalty decisions. See Davis, 793 F.3d at 720 (noting that, to

the extent the defendant wanted information about how the U.S. Attorney exercised

prosecutorial discretion, the U.S. Supreme Court’s decision in Armstrong was an

“insuperable obstacle”); Bond v. Atkinson, 728 F.3d 690, 694 (7th Cir. 2013) (Armstrong

sets a high evidentiary standard before a court may order discovery into law

enforcement practices); United States v. Johnson, 900 F.Supp.2d 949, 972 (N.D. Iowa 2012)

(defendant provided no evidence of discriminatory intent behind prosecution’s decision

to seek death penalty, so the court would not order discovery) . The Supreme Court’s

holding in Armstrong has also been extended by district courts to deny discovery of

prosecutorial decisionmaking in death penalty cases where the defendant alleges that

the decision to seek the death penalty was “arbitrary and capricious.” United States v.

Taylor, 2008 WL 217115, at *4 (E.D. Tenn. Jan. 24, 2008).

       The court sees no reason why the Supreme Court’s reasoning in Armstrong

should not be applied to the argument Defendant is making in this case. In order for

the court to order discovery of the nature requested by Defendant, Defendant must

make a showing of some evidence that the two presidents discussed this case, then that

the U.S. President decided the death penalty should be imposed, then that he ordered

the Attorney General to seek the death penalty, and then that the Attorney General

made his decision based on that command (and presumably, that the decision would

otherwise have been not to seek the death penalty). Defendant, however, has provided


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no such evidence. Rather, Defendant has provided only speculation upon speculation

that the issue might have been discussed, and then might have been communicated to

the Department of Justice and Attorney General, and then might have been central to the

decision to seek the death penalty. This is the definition of a “fishing expedition.” Pure

speculation, without any evidence, does not amount to a “credible showing,” and has

certainly not met the high standard required before a court may order discovery into

law enforcement practices. See Bond, 728 F.3d at 694.2

           The court realizes that Defendant’s request, on its face, is not “onerous” in the

sense that it will require a large expenditure of time and manpower on the

government’s part to fulfill. However, this request goes straight to the heart of

prosecutorial discretion and the decisionmaking process, which has been held to be

broad and ill-suited to judicial review. Armstrong, 517 U.S. at 464; Scott, 631 F.3d at 406.

Defendant, in his Reply, argues that the government’s failure to deny that there were

any direct communications between the White House and Department of Justice “lends

additional weight to [Defendant’s] request, suggests the request is not mere baseless

speculation and satisfies the threshold showing of ‘some evidence’ supporting


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        Even were the court to order discovery on this issue, there remains the question
of what, if anything, regarding the Attorney General’s decisionmaking process would
even be discoverable, and not covered by the various privileges. One of the privileges
at issue would be the deliberative process privilege, which would bar the discovery of
documents that contained opinions, recommendations, and/or advice about DOJ
policies designed to help the Attorney General decide whether the death penalty is
appropriate in any case in which the death penalty is a potential sentence, and could be
said to play an integral role in the government’s deliberative process. Fernandez, 231
F.3d at 1246-47; Zingsheim, 384 F.3d at 871-72.

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discovery of the information.” This sort of argument is disingenuous, akin to asking an

attorney if his client committed a crime, and then claiming some sort of evidentiary

showing to justify accessing privileged material when the attorney refuses to answer

either way. Defendant cannot use the government’s silence and opposition to the

motion to create, out of whole cloth, evidence constituting a “credible showing.” The

consideration of such silence as “evidence” clearly conflicts with the stringent

requirements of Armstrong. Essentially, it would make asking the question itself the

only evidence necessary to overcome the strong presumption of regularity that attaches

to prosecutorial decisionmaking.3




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        The court must also note that, once again, Defendant has slipped into hyperbole
throughout his argument. For example, Defendant argues in his Reply that “[i]n the
world imagined by the Response, beyond those impenetrable barricades a President
could order the Attorney General to seek the death penalty against all African-
American defendants or all Asians or any other constitutionally-protected group if he
so chooses and that information could legitimately remain interred in the vaults of the
Department of Justice.” Defendant later makes this same argument with regard to
Muslims. Putting aside that the Supreme Court has already held that information
related to such heinous decisions would be discoverable upon a credible showing (Bass,
536 U.S. at 863-64), this sort of hyperbole has no place in this case or filings with this
court. Further, this argument has no connection to the actual facts of this case:
Defendant is not a member of a minority group, nor is there any evidence whatsoever
that race played a role in the government’s decision to seek the death penalty. Indeed,
accepting Defendant’s argument in this case would expose the Department of Justice’s
decisionmaking process to discovery in just about every federal criminal case, thereby
completely vitiating the concept of prosecutorial discretion and privilege. This court
has already, in a prior order, noted and suggested to Defendant to avoid such rhetorical
flourishes, especially ones that have no legal or factual relevance to the issues at hand.
The court again gently reminds Defendant, hopefully with more impact, to focus his
arguments on the law and facts relevant to the issues before the court.

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       For the reasons stated above, Defendant’s motion is DENIED on this ground.4

       Aggravating Factors in the Notice of Intent to Seek the Death Penalty

       Defendant next argues that the government’s May 18, 2018, letter purporting to

comply with the court’s order that it disclose all expected evidence in support of the

alleged aggravating factors in the Notice of Intent to Seek Death Penalty (NOI), is

insufficient. Defendant notes that the government provided 11,500 pages of written

discovery, 58 disks containing audio and video recordings, photographs, computer and

telephone forensics, telephone records, and hundreds (if not thousands) of jail calls and

text messages. Defendant requests the disclosure of all expected evidence in support of

the alleged aggravating factors, in a form that is usable. Defendant argues the

government’s disclosure in the May 18, 2018, letter satisfies the court’s order “mainly in

the breach,” because “it provides no guidance where within the thousands of pages and

mountains of electronic data counsel is expected to find the information that the

government intends to use to prove each of the alleged aggravating factors.” Defendant




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        The court would also note that Defendant, on the last page of his Reply, in a
footnote, added an entirely new, undeveloped (except for a citation to one Second
Circuit case from 1974) alternative request that the court either conduct a hearing and
issue a subpoena under Federal Rule of Criminal Procedure 17(c) requiring the
government to produce records reflecting communication between the White House
and DOJ, or issue an order requiring production of said records for the court to review
in camera. The argument is rejected. First, arguments raised for the first time in a reply
brief are waived. United States v. Hughes, 970 F.2d 227, 235 n.6 (7th Cir. 1992). Second,
undeveloped and unsupported arguments are deemed waived. United States v.
Thornton, 642 F.3d 599, 606 (7th Cir. 2011).

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requests a more detailed outline for each of the statutory and non-statutory aggravating

factors the government disclosed in its NOI, specifying an outline of the exact evidence

the government intends to use.

       The government responds that the May 18, 2018, notice of aggravating evidence

satisfies the court’s order and exceeds both the letter and spirit of the law. The NOI,

argues the government, is the only notice to which Defendant is entitled regarding

aggravating factors, a position supported by the weight of the case law on this subject.

Thus, the government has gone above and beyond its obligation on this front, and any

further information would be requiring the government to preview its trial strategy and

evidence presentation for Defendant. The government further argues that it would be

unduly burdensome.

       The Federal Death Penalty Act (FDPA) provides as follows:


               (a) Notice by the government.--If, in a case involving an offense
       described in section 3591, the attorney for the government believes that
       the circumstances of the offense are such that a sentence of death is
       justified under this chapter, the attorney shall, a reasonable time before
       the trial or before acceptance by the court of a plea of guilty, sign and file
       with the court, and serve on the defendant, a notice--
               (1) stating that the government believes that the circumstances of
       the offense are such that, if the defendant is convicted, a sentence of death
       is justified under this chapter and that the government will seek the
       sentence of death; and
               (2) setting forth the aggravating factor or factors that the
       government, if the defendant is convicted, proposes to prove as justifying
       a sentence of death.
               The factors for which notice is provided under this subsection may
       include factors concerning the effect of the offense on the victim and the
       victim’s family, and may include oral testimony, a victim impact
       statement that identifies the victim of the offense and the extent and scope
       of the injury and loss suffered by the victim and the victim’s family, and

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       any other relevant information. The court may permit the attorney for the
       government to amend the notice upon a showing of good cause.

18 U.S.C. § 3593(a).

       Notably, the FDPA is silent as to the level of detail required to be disclosed by

the government. Thus, it is left to case law to provide guidance as to just how much

detail the government must provide.

       Defendant cites to several district court cases in support of his argument that a

more specific, detailed outline regarding evidence in support of aggravating factors

must be disclosed by the government. In United States v. Llera Plaza, 179 F.Supp.2d 464

(E.D. Penn. 2001), the defendants challenged the sufficiency of the government’s NOIs.

The government’s NOIs listed the aggravating factors (both statutory and non-

statutory) the government proposed to establish for each count against all defendants.

The defendants argued the NOIs failed to “provide sufficient notice to them of what

facts the government intends to prove during the sentencing phase of the trial” and that

“because the NOIs merely list the aggravating factors the government intends to prove,

they fail to inform the defendants of precisely what evidence the government will

attempt to introduce during the sentencing phase.” Llera Plaza, 179 F.Supp.2d at 470.

       The court surveyed the existing case law, specifically United States v. Kaczynski,

1997 WL 34626785 (E.D. Cal. Nov. 7, 1997), finding that “[o]ther courts have ordered

prosecutors to provide greater specificity in NOIs in order to allow the defendant to

prepare adequately for sentencing proceedings and to allow the court to ensure the

reliability of the evidence presented.” Llera Plaza, 179 F.Supp.2d at 470. But, the court


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also noted that “[o]ther courts, however, have differed, suggesting instead that NOIs

need do no more than recite the aggravating factors the government intends to prove.”

Llera Plaza, 179 F.Supp.2d at 471. Ultimately, the court concluded that, while 18 U.S.C. §

3593(a) did not require the government to produce the details of its sentencing phase

evidence, the U.S. Constitution did require that the defendants be given some notice of

the type of evidence the government intended to introduce at the sentencing phase.

Llera Plaza, 179 F.Supp.2d at 472. The Constitution, the court noted, promised

defendants a meaningful opportunity to present a complete defense, and that

opportunity would hardly be “meaningful” if the defense was forced to confront

sentencing phase evidence without any notice of what that evidence might be. Llera

Plaza, 179 F.Supp.2d at 472. Thus, the court concluded, “[i]n order for the government's

evidence to be subjected to ‘the crucible of meaningful adversarial testing,’ [citation

omitted] the NOIs, in conjunction with the indictment, must inform the defendants of

the theories and facts that the government will use to establish each aggravating factor

in this case.” Llera Plaza, 179 F.Supp.2d at 472. The court found that while some of the

aggravating factors alleged in the indictment were sufficient to provide adequate notice

to the defense, for other factors, the government was ordered to provide an outline of

the evidence it intended to present to prove said factors. Llera Plaza, 179 F.Supp.2d at

472-75.

       One of the cases cited by both Defendant and the court in Llera Paza is United

States v. Glover, 43 F.Supp.2d 1217 (D. Kan. 1999). In Glover, the government provided a

NOI, listing the statutory and non-statutory aggravating factors it intended to pursue.

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The court, exercising its “inherent authority,”ordered the government to be more

specific on many of the aggravating factors listed in the NOI. Glover, 43 F.Supp.2d at

1222-27. The court concluded on one factor, for example:

              Without more information, the court is unable to assess whether
      submission of this factor to the jury would be proper in this case.
      Consequently, the court, in the exercise of its inherent authority, directs
      the government, by March 12, 1999, to more specifically articulate the
      nature of this aggravator by setting out the factual basis on which it
      intends to show Mr. Glover’s lack of remorse. After the government has
      fully specified the factual basis and the evidence it intends to use to prove
      this factor, the court will consider whether a pretrial evidentiary hearing is
      warranted.

Glover, 43 F.Supp.2d at 1227.

      The court also ordered on another factor:

             The court finds that Mr. Glover should have notice of the
      unadjudicated acts, both to avoid surprise and so that any appropriate
      motions can be filed. Accordingly, as in Kaczynski, the government is
      directed to amplify its notice by providing a written list identifying the
      particular unadjudicated acts that it will seek to introduce during
      sentencing on this factor, as well as the dates of the unadjudicated acts.
      The government is further directed to list the witnesses and exhibits the
      government intends to present to prove the unadjudicated acts. The court
      finds such supplementation should adequately apprise Mr. Glover of the
      nature of the evidence on which the government will rely. Such
      amendment to the notice should be filed with the court by March 12, 1999.

Glover, 43 F.Supp.2d at 1227-28.

      Defendant also cites to United States v. Taylor, 316 F.Supp.2d 730 (N.D. Ind. 2004).

In Taylor, the defendants argued that the government’s NOIs were insufficient because

some aggravating factors were unconstitutionally vague while others were inapplicable

to the case because of the lack of evidence to support the factors. The government

disagreed, arguing that the aggravating factors in the NOIs were proper and satisfied

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all constitutional and statutory threshold requirements. The court rejected the

defendants’ arguments for more specificity, but did state, regarding the “unadjudicated

conduct” factor:

              Following the procedures utilized by other courts in federal death
      penalty cases, the Court finds that prior to the penalty phase, should one
      be necessary, the Government will be required to present to the Court and
      the specific Defendant the information which it intends to introduce as
      unadjudicated conduct. At such time, the Court will determine whether
      the information is reliable. The evidence will be presented to the jury only
      if the Government is able to satisfy that threshold determination and the
      evidence satisfies the exclusionary provision provided in § 3593(c). Such
      procedures will ensure that any evidence regarding unadjudicated
      criminal conduct satisfies the heightened reliability and relevancy
      requirements. Defendants’ requests to strike evidence of unadjudicated
      conduct at this juncture are DENIED.

Taylor, 316 F.Supp.2d at 742.

      Defendant also cites to United States v. Lujan, 530 F.Supp.2d 1224 (D.N.M. 2008).

In Lujan, the defendant argued that the Fifth, Sixth, and Eighth Amendments required

disclosure of all information which supported each of the various threshold statutory

findings as well as the statutory and non-statutory aggravating factors, contending that

he had a due process right to notice of the evidence that would be submitted against

him at the capital sentencing trial and that denial of this motion would interfere with

his right to effective assistance of counsel. The government responded that it had

already provided constitutionally sufficient notice and that neither Brady v. Maryland,

373 U.S. 83 (1963) nor Rule 16 nor 18 U.S.C. § 3593 required more because the FDPA

required adequate notice of aggravating factors, but did not require the disclosure of all

evidence in support of those factors.


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      The Lujan court, surveying case law, found that adequate notice under the FDPA

was satisfied where the government set forth the aggravating factors that it intended to

prove, because § 3593 does not convey additional discovery rights. The court also

found that pretrial discovery of evidence supporting aggravating factors is also not

required by the Constitution, insofar as the requests go beyond the requirements of

Brady. Lujan, 530 F.Supp.2d at 1268. The court went on to note, however, that

“[d]espite the lack of pretrial discovery rights in the Constitution and FDPA, many

courts have nonetheless granted a capital defendant broader discovery of evidence in

aggravation. These courts generally used their inherent powers to order the

government to provide additional information on certain aggravating factors in order to

ensure a meaningful opportunity to prepare a defense.” Lujan, 530 F.Supp.2d at 1269.

The court concluded that statutory threshold findings, statutory aggravating factors,

and all the non-statutory aggravating factors alleged in the NOI warranted additional

discovery in order to more fully enable Defendant to prepare his case and to avoid trial

delays by minimizing surprise, writing:

             I adopt the reasoning of those courts that have used their inherent
      powers to order the government to provide additional information on
      certain aggravating factors in order to ensure a meaningful opportunity to
      prepare a defense. See, e.g., Llera Plaza, 179 F.Supp.2d at 470–75. The
      severity of the penalty sought in this case warrants special efforts to
      ensure the fairness of the proceedings. Greater notice improves the
      truth-seeking process. Accordingly, in the exercise of the inherent
      authority given to the Court, I will order the Government to provide to
      Mr. Lujan a written informative outline on certain statutory threshold
      findings and aggravating factors, as detailed below, on or before May 1,
      2008. The document need not reveal evidentiary detail but should address
      the general nature of the information it will introduce to prove the
      following statutory threshold findings and aggravating factors. The

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       United States will have a continuing duty to supplement its outline. Thus,
       if new information becomes known to the United States, I will permit the
       United States to supplement its informative outline within a reasonable
       time before trial. I stress that this order does not contemplate amendment
       of the Notice.

Lujan, 530 F.Supp.2d at 1269-70.

       The government, in support of its argument that the listing of the aggravating

factors in the NOI is sufficient notice, cites to four circuit court cases. In United States v.

Battle, 173 F.3d 1343 (11th Cir. 1999), the Eleventh Circuit rejected a defense request that

the government show good cause to amend the NOI. The defendant argued that the

trial court erred by allowing the government to amend the NOI on the eve of trial, in

violation of the FDPA and the Fifth, Sixth, and Eighth Amendments to the U.S.

Constitution. The government countered that it was only amending the notice to

include specific evidence supporting an aggravating factor that was already in the

original notice. The Eleventh Circuit agreed with the government that nothing in the

federal statute or Constitution prevented such an amendment, and that new

aggravating factors could be added upon a showing of good cause. Battle, 173 F.3d at

1347. However, the court noted, notice of aggravating factors is different than notice of

“specific evidence,” and the government is not required to provide specific evidence in

its notice of intent. Battle, 173 F.3d at 1347. Thus, when the government sought to

amend the NOI to add only specific evidence, and not new “factors”, it did not need to

show good cause and, if anything, was helping the defendant some by forewarning him

of the evidence to be used against him. Battle, 173 F.3d at 1347.



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       A few years later, the Eighth Circuit issued its opinion in United States v. Lee, 274

F.3d 485 (8th Cir. 2001), where it held that, while a defendant had a right to advance

notice of the aggravating factors the government sought to prove at sentencing, he had

no right to advance notice of the specific evidence the government would use to prove

those factors. Lee, 274 F.3d at 495.

       In United States v. Higgs, 353 F.3d 281 (4th Cir. 2003), the Fourth Circuit

addressed a defendant’s argument that the trial court erred in admitting certain

testimony because the defendant did not receive pretrial notice that the government

intended to introduce evidence concerning a shooting in support of a non-statutory

aggravating factor. The Fourth Circuit rejected the defendant’s argument as plainly

“without merit” because the “FDPA and the Constitution require that the defendant

receive adequate notice of the aggravating factor, which [the defendant] admittedly

received in this case, not notice of the specific evidence that will be used to support it.”

Higgs, 353 F.3d at 325.

       The Eleventh Circuit revisited this issue seven years after Battle in United States v.

LeCroy, 441 F.3d 914 (11th Cir. 2006). In LeCroy, the government, pursuant to the FDPA,

served notice on the defendant of its intent to seek the death penalty. The NOI listed

statutory and non-statutory aggravating factors, including “future dangerousness.” In

the NOI, for the future dangerousness factor, the government stated that the defendant

represented a “continuing danger to the lives and safety” of others, and that the

defendant has committed the instant crimes and also “has committed and exhibited acts

and characteristics including, but not limited to, the following: (a) specific threats of

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violence; (b) risk of escape; (c) low rehabilitative potential.” To prove this factor at trial

the government called four witnesses who testified to the defendant’s prior crimes and

bad acts. The defendant argued this evidence should have been excluded because it

was not included as an aggravating factor in the NOI and was not relevant to any

aggravating circumstance included in the NOI.

       The Eleventh Circuit construed the defendant’s argument as being that there is

an obligation to provide notice not only of the aggravating factor, but also of the

evidence supporting the same. The court noted it had expressly rejected this argument

in Battle, finding that the government is not required to provide specific evidence in its

§ 3593 NOI. LeCroy, 441 F.3d at 929. The court also cited to the U.S. Supreme Court’s

decision in Gray v. Netherland, 518 U.S. 152 (1996), which held that although there is a

right to advance notice of the charges, there is no extant constitutional right to advance

notice of the evidence to prove such charges in a capital sentencing hearing. LeCroy, 441

F.3d at 929, citing Gray, 518 U.S. at 167-68. The court concluded that the government

satisfied its constitutional and statutory obligations by informing the defendant of what

aggravating factors it intended to prove at trial, and that it was not obligated to outline

what specific pieces of evidence it planned to use to support the aggravating factors.

LeCroy, 441 F.3d at 930.

       The government also cited to several district court cases in support of its

position. In those cases, the district courts held that the government was not required to

produce detailed outlines to defendants of the aggravating factors contained in the NOI.

United States v. Montgomery, 10 F.Supp.3d 801, 823 (W.D. Tenn. 2014); United States v.

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Solomon, 513 F.Supp.2d 520, 538-39 (W.D. Pa. 2007) (denying defense motion to strike

the NOI or require a bill of particulars, finding that the NOI fully apprised the

defendant of the nature of the aggravating factors upon which the government would

rely to sentence him); United States v. Gooch, 2006 WL 3780781, at *21 (D.D.C. Dec. 20,

2006) (disagreeing with Glover and finding that the government was not required to

outline the factual basis underlying the mental state in the NOI, concluding that the

defendant was “not really asking for the underlying factual basis for each gateway

factor-he already has all the facts-but, instead, for how the government plans to use the

evidence it has amassed” and that “[t]he government has no obligation to give him a

preview of its evidentiary presentation.”).

       The court would also note a district court opinion from the Northern District of

Indiana, United States v. Briseno, 2014 WL 12682281 (N.D. Ind. Nov. 14, 2014). In Briseno,

the government, in its NOI, set out the aggravating factors, including “future

dangerousness,” alleging that the defendant was likely to commit future acts of criminal

violence because he had (1) a low potential for rehabilitation; (2) a willingness to take

human life and a lack of remorse for his acts of violence as demonstrated by statements

he made following the violent acts; and (3) his stated desire to impose a rule requiring

fellow gang members to shoot rivals on sight. The defendant filed a motion for

“informative outline of the government’s factual basis” for the future dangerousness

factor. The district court rejected this argument, finding the government’s NOI satisfied

the requirements of the FDPA and that, beyond that, the government was not required

to preview its evidentiary support for the aggravating factors it has disclosed by

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outlining what specific pieces of evidence it planned to use to support the aggravating

factors. Briseno, 2014 WL 12682281, at *2. In support of its position, the court cited to

the decisions in LeCroy, Higgs, and Battle.

       The court acknowledges that the cases discussed above are not binding, but

rather merely persuasive, and that there is no binding precedent on this specific issue

from the Seventh Circuit. However, the court finds important the fact that all four of

the circuit court decisions on this issue come down on the side of not requiring the

government to provide an informational outline detailing the specific evidence it

intends to present in support of the aggravating factors. Rather, all the circuit court

decisions hold that the listing of the aggravating factors in the NOI is enough to satisfy

the requirements of the Constitution and the statutory requirements of the FDPA. The

court finds the circuit court decisions in Battle, Lee, Higgs, and LeCroy to be more

persuasive than those district court cases cited by Defendant. The circuit court cases

present a more reasoned analysis of the requirements of the FDPA and the Constitution.

Therefore, the government is not required to preview its evidentiary support for the

aggravating factors it has disclosed by providing a detailed outline for each factor. See

Briseno, 2014 WL 12682281, at *2.

       The court also notes that in this case, the government has provided Defendant far

more than just a bare listing of aggravating factors in the NOI. On May 18, 2018, the

government sent a letter to defense counsel disclosing evidence in support of

aggravating factors during the penalty phase (attached as an exhibit to Defendant’s

motion). The court will not repeat what evidence the government discussed in its letter.

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Suffice to say that the information provided in the letter, in the court’s opinion,

disclosed a reasonably detailed outline, a preview, of the evidence it intends to

introduce in support of each of the listed aggravating factors. Moreover, this outline is

certainly beyond what is required under the FDPA as held by the Circuit Courts of

Appeal. Thus, Defendant’s motion is DENIED.5

       IT IS THEREFORE ORDERED:

       Defendant’s Motion to Compel Discovery (#82) is DENIED.

              ENTERED this 15th day of August, 2018.



                                   s/ COLIN S. BRUCE

                                  U.S. DISTRICT JUDGE




       The court would note that Defendant, in his motion, mentioned the parties have
       5

been meeting concerning the possible use of Federal Rule of Evidence 404(b) evidence.
Defendant states that the government has turned over a sealed motion detailing the
Rule 404(b) evidence it intends to introduce at trial and that, as of the parties’ meeting
on June 19, 2018, the government did not have any additional evidence to supplement
the motion. The court encourages the parties to continue to cooperate on work together
on such matters pursuant to Local Rule 16.1.

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